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                                                                         EXHIBIT 60


                                                                                                                               S. HRG. 110–490

                                                    IRAQ: THE CROCKER-PETRAEUS REPORT


                                                                                HEARING
                                                                                      BEFORE THE



                                              COMMITTEE ON FOREIGN RELATIONS
                                                   UNITED STATES SENATE
                                                                ONE HUNDRED TENTH CONGRESS

                                                                                    FIRST SESSION



                                                                                SEPTEMBER 11, 2007



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                                         lion a year the Ministry is now receiving from the government’s budget, as well as
                                         private investment in power generation, that goal could be met.
                                            We are deploying our assistance funds to make a difference to ordinary Iraqis and
                                         to support our political objectives. Military units are using Commanders Emergency
                                         Response (CERP) funds to ensure that residents see a difference when neighborhood
                                         violence declines. USAID Community Stabilization Funds provide tens of thousands
                                         of jobs. With the recent apportionment of 2007 Supplemental funds, we are putting
                                         ‘‘Quick Response Funds’’ in the hands of our Provincial Reconstruction Team leaders
                                         to build communities and institutions in post-kinetic environments. Vocational
                                         training and microfinance programs are supporting nascent private businesses. And
                                         in Baghdad, we are increasing our engagement and capacity-building efforts with
                                         ministries.
                                                                       REGIONAL AND INTERNATIONAL DYNAMICS

                                            On the diplomatic front, there is expanding international and regional engage-
                                         ment with Iraq. In August, the U.N. Security Council, at Iraq’s invitation, provided
                                         the United Nations Assistance Mission in Iraq (UNAMI) with an expanded mandate
                                         through UNSCR 1770. The work of the International Compact with Iraq moves for-
                                         ward, jointly chaired by Iraq and the U.N. Seventy-four countries pledged support
                                         for Iraq’s economic reform efforts at a Ministerial Conference in May. The U.N. has
                                         reported progress in 75 percent of the 400 areas Iraq has identified for action. Later
                                         this month, the Iraqi Prime Minister and the U.N. Secretary General will chair a
                                         ministerial-level meeting in New York to discuss further progress under the Com-
                                         pact and how UNSCR 1770 can be most effectively implemented.
                                            Many of Iraq’s neighbors recognize that they have a stake in the outcome of the
                                         current conflict in Iraq, and are engaging with Iraq in a constructive way. A neigh-
                                         bors’ ministerial in May, also attended by the P–5 and the G–8, has been followed
                                         by meetings of working groups on security, border issues, and energy. An ambassa-
                                         dorial level meeting just took place in Baghdad, and another neighbors’ ministerial
                                         will be held in Istanbul in October.
                                            Against the backdrop of these new mechanisms, the business of being neighbors
                                         is quietly unfolding. For the first time in years, Iraq is exporting oil through its
                                         neighbor, Turkey, as well as through the gulf. Iraq and Kuwait are nearing conclu-
                                         sion on a commercial deal for Kuwait to supply its northern neighbor with critically
                                         needed diesel. Jordan recently issued a statement welcoming the recent leaders’
                                         communiqué and supporting Iraqi efforts at reconciliation. And Saudi Arabia is
                                         planning on opening an Embassy in Baghdad—its first since the fall of Saddam.
                                            Syria’s role has been more problematic. On one hand, Syria has hosted a meeting
                                         of the border security working group and interdicted some foreign terrorists in tran-
                                         sit to Iraq. On the other hand, suicide-bombers continue to cross the border from
                                         Syria to murder Iraqi civilians.
                                            Iran plays a harmful role in Iraq. While claiming to support Iraq in its transition,
                                         Iran has actively undermined it by providing lethal capabilities to the enemies of
                                         the Iraqi state. In doing so, the Iranian Government seems to ignore the risks that
                                         an unstable Iraq carries for its own interests.
                                                                                    LOOKING AHEAD

                                            Two thousand six was a bad year in Iraq. The country came close to unraveling
                                         politically, economically, and in security terms; 2007 has brought some improve-
                                         ments. Enormous challenges remain. Iraqis still struggle with fundamental ques-
                                         tions about how to share power, accept their differences and overcome their past.
                                         The changes to our strategy last January—the Surge—have helped change the dy-
                                         namics in Iraq for the better. Our increased presence made besieged communities
                                         feel that they could defeat al-Qaeda by working with us. Our population security
                                         measures have made it much harder for terrorists to conduct attacks. We have
                                         given Iraqis the time and space to reflect on what sort of country they want. Most
                                         Iraqis genuinely accept Iraq as a multiethnic, multisectarian society—it is the bal-
                                         ance of power that has yet to be sorted out.
                                            Whether Iraq reaches its potential is of course ultimately the product of Iraqi de-
                                         cisions. But the involvement and support of the United States will be hugely impor-
                                         tant in shaping a positive outcome. Our country has given a great deal in blood and
                                         treasure to stabilize the situation in Iraq and help Iraqis build institutions for a
                                         united, democratic country governed under the rule of law. Realizing this vision will
                                         take more time and patience on the part of the United States.
                                            I cannot guarantee success in Iraq. I do believe, as I have described, that it is
                                         attainable. I am certain that abandoning or drastically curtailing our efforts will
                                         bring failure, and the consequences of such a failure must be clearly understood. An




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                                                                                          23
                                         should be very proud of their sons and daughters serving in Iraq
                                         today.
                                           Thank you very much.
                                           [The prepared statement of General Petraeus follows:]
                                          PREPARED STATEMENT           OF   GEN DAVID H. PETRAEUS, COMMANDER, MULTI-NATIONAL
                                                                             FORCE–IRAQ, BAGHDAD, IRAQ
                                           Mr. Chairman, Mr. Ranking Member, members of the committee, thank you for
                                         the opportunity to provide my assessment of the security situation in Iraq and to
                                         discuss the recommendations I recently provided to my chain of command for the
                                         way forward.
                                           At the outset, I would like to note that this is my testimony. Although I have
                                         briefed my assessment and recommendations to my chain of command, I wrote this
                                         testimony myself. It has not been cleared by, nor shared with, anyone in the Pen-
                                         tagon, the White House, or Congress.
                                           As a bottom line up front, the military objectives of the surge are, in large meas-
                                         ure, being met. In recent months, in the face of tough enemies and the brutal sum-
                                         mer heat of Iraq, coalition and Iraqi security forces have achieved progress in the
                                         security arena. Though the improvements have been uneven across Iraq, the overall
                                         number of security incidents in Iraq has declined in 8 of the past 12 weeks, with
                                         the numbers of incidents in the last 2 weeks at the lowest levels seen since June
                                         2006.
                                           One reason for the decline in incidents is that coalition and Iraqi forces have dealt
                                         significant blows to al-Qaeda–Iraq. Though al-Qaeda and its affiliates in Iraq re-
                                         main dangerous, we have taken away a number of their sanctuaries and gained the
                                         initiative in many areas.
                                           We have also disrupted Shia militia extremists, capturing the head and numerous
                                         other leaders the Iranian-supported Special Groups, along with a senior Lebanese
                                         Hezbollah operative supporting Iran’s activities in Iraq.
                                           Coalition and Iraqi operations have helped reduce ethnosectarian violence, as
                                         well, bringing down the number of ethnosectarian deaths substantially in Baghdad
                                         and across Iraq since the height of the sectarian violence last December. The num-
                                         ber of overall civilian deaths has also declined during this period, although the num-
                                         bers in each area are still at troubling levels.
                                           Iraqi security forces have also continued to grow and to shoulder more of the load,
                                         albeit slowly and amid continuing concerns about the sectarian tendencies of some
                                         elements in their ranks. In general, however, Iraqi elements have been standing
                                         and fighting and sustaining tough losses, and they have taken the lead in oper-
                                         ations in many areas.
                                           Additionally, in what may be the most significant development of the past 8
                                         months, the tribal rejection of al-Qaeda that started in Anbar province and helped
                                         produce such significant change there has now spread to a number of other locations
                                         as well.
                                           Based on all this and on the further progress we believe we can achieve over the
                                         next few months, I believe that we will be able to reduce our forces to the presurge
                                         level of brigade combat teams by next summer without jeopardizing the security
                                         gains that we have fought so hard to achieve.
                                           Beyond that, while noting that the situation in Iraq remains complex, difficult,
                                         and sometimes downright frustrating, I also believe that it is possible to achieve our
                                         objectives in Iraq over time, though doing so will be neither quick nor easy.
                                           Having provided that summary, I would like to review the nature of the conflict
                                         in Iraq, recall the situation before the surge, describe the current situation, and ex-
                                         plain the recommendations I have provided to my chain of command for the way
                                         ahead in Iraq.
                                                                            THE NATURE OF THE CONFLICT

                                            The fundameintal source of the conflict in Iraq is competition among ethnic and
                                         sectarian communities for power and resources. This competition will take place,
                                         and its resolution is key to producing long-term stability in the new Iraq. The ques-
                                         tion is whether the competition takes place more—or less—violently. This chart
                                         shows the security challenges in Iraq. Foreign and home-grown terrorists, insur-
                                         gents, militia extremists, and criminals all push the ethno-sectarian competition to-
                                         ward violence. Malign actions by Syria and, especially, by Iran fuel that violence.
                                         Lack of adequate governmental capacity, lingering sectarian mistrust, and various
                                         forms of corruption add to Iraq’s challenges.




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                                             [Charts referred to by GEN Petraeus during his testimony and in his prepared
                                                                         statement follows:]




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